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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 UNITED STATES OF AMERICA,                                Case No.: 2:19-cr-00201-APG-NJK

 4          Plaintiff                                    Order Denying Stipulation to Continue
                                                                        Trial
 5 v.
                                                                        [ECF No. 31]
 6 FREDI KAZIMIRSKY,

 7          Defendant

 8         The parties have stipulated to continue the trial in this matter based on the court’s

 9 General Order 2020-03, which continued all jury trials until April 10, 2020. That order was

10 amended in August 2020 “to allow jury trials to proceed in accordance with the Court’s internal

11 plan for resuming jury trials.” Thus, General Order 2020-03 does not stop this trial from going

12 forward. The parties have not identified any other reason to continue the trial.

13         I THEREFORE ORDER that the parties’ stipulation to continue trial (ECF No. 31) is

14 denied without prejudice.

15         DATED this 5th day of November, 2020.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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